            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                              1:09CR23

UNITED STATES OF AMERICA,          )
                                   )
Vs.                                )                                  ORDER
                                   )
TARUS CAVE.                        )
__________________________________ )

       THIS MATTER is before the court upon the court’s own Motion for Inquiry

as required by Rule 44(c), Federal Rules of Civil Procedure.1 Defendant is advised

that at such hearing, the court will make inquiry concerning whether a conflict of

interest exists and if so whether any further action needs to be taken to protect

defendant’s right to counsel. The court is advised that counsel for defendant has

given defendant more particular notice of the nature of the potential conflict.



                                             ORDER

       IT IS, THEREFORE, ORDERED that a Status of Counsel hearing is

calendared for hearing on August 28, 2009, at 2:00 p.m.




       1
                Rule 44(c) does not deal precisely with the conflict issue raised herein and is
being utilized by the court as a framework for conducting the inquiry.


    Case 1:09-cr-00023-MR-WCM              Document 191        Filed 08/26/09      Page 1 of 2
                                Signed: August 26, 2009




Case 1:09-cr-00023-MR-WCM   Document 191    Filed 08/26/09   Page 2 of 2
